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                                               September 26, 2018

         The Honorable Paula Xinis
         United States District Judge
         United States District Court
          for the District of Maryland
         6500 Cherrywood Lane
         Greenbelt, MD 20770
         Via CM/ECF

                   Re:    United States v. Roy Evans, PX-16-0421

         Dear Judge Xinis:

         We write in advance of Monday’s sentencing hearing in this matter. When Mr. Evans pleaded
         guilty, the government reserved the right to present evidence related to Counts One and Seven
         through Fourteen, which alleged conduct to which Mr. Evans did not plead guilty. These
         matters would have been relevant to the computation of the correct advisory sentencing
         guidelines range.

         In its sentencing memorandum (ECF No. 124), the government outlined the evidence it intends
         to introduce as to those matters as well as other conduct related to two other victims. We have
         reviewed this matter with Mr. Evans. Based on our discussions with him, Mr. Evans will not be
         challenging the government’s evidence as to the conduct related to the individuals identified as
         Victims 2, 3, 4, and 5. In other words, Mr. Evans concedes that the government’s evidence on
         those matters is sufficient to establish those facts for sentencing. Mr. Evans does not concede
         that he committed the conduct alleged in Count One.

         Relatedly, Mr. Evans agrees that restitution would be appropriate as to those victims, along
         with Victim 1. But, the parties have not agreed to the amount. Should the parties reach an
         agreement, we will notify the Court in advance of the hearing.

         We thank the Court for its attention this matter.
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                                                        Sincerely,

                                                               /s/

                                                        Andrew Szekely
                                                        Patricia L. Richman
                                                        Assistant Federal Public Defenders

cc:   Kelly Hayes, Assistant United States Attorney
      Timothy Hagan, Assistant United States Attorney
